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Exhibit 4

 

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liS 8.352.\_)2.3

A("C`li.'s`F,l) C()\'ll’();\ll?lf_\l"l`.`\.` .'~\N[) B.»\SIS ()F lNFRlN(`-`Fl\"IENT ("ONTF,NT|_(`)NS

 

[Claim l is not asserted in
this case but is charted as
background for asserted
dependent claims]

l.P A software testing
system operative to test a
software application
comprising a plurality of
software components, at
least some of which are
coupled in a utilizing-
utilized relationship the
system comprising:

 

The accused components for all claims of the ’923 Patent are Telerik’s .lustl\/loclcTM and DevCraitm
product (“Accused Software Products”).

.lustMock is soltware for testing software applications that comprise a plurality of software
components When the .lustMock software is loaded for execution on a computer, the computer as
so configured constitutes a software testing system operative to test a software application
comprising a plurality of software components Telerik also provides a product called DevCratt,
which incorporates the functionality of the Justmock software accused of infringement herein.

The assertions herein are preliminary and subject to continuing discovery, which is just beginning,
including inspection of relevant Telerik source code and documentationl

Telerik’s JustMock is described by Telerik as a “{f]ast, flexible, fully-featured mocking
t`ramework.”

.lustMock (http:!.’www.telerik.com!products!mockina.asnx]

A “utilized-utilizing” relationship includes at least a dependent-dependency relationship JustMock
is operative to test a software application comprising a plurality of software components, at least
some of which are coupled in such a utilizing-utilized relationship

Te|erik Just|ll|ock is an easy to use mocking tool from Te|enk designed to help you create
better unit tests, faster than ever. Telerik JustMock makes it easier for you to create mock
objects and set expectations independently of external dependencies like databases. web
service calls. or proprietary code.

http:)‘rwww.telerik.comfhelpi'iustmocl<fintroduction.html
-
- W
PF|CP‘R|ETAIY
‘_ root

http:h‘www.telerik.com!productsfmocl<ing.asgx#unit-testing-simplified

"What is mocking?
Nlocking is a process used in unit testing when the unit being tested has external
dependencies The purpose of moc|<ing is to focus on the code being tested and not on the

behavior or state of external dependencies |n mocking, the dependencies are replaced by
closely controlled replacements objects that simulate the behavior of the real ones.

httn:,-”fwww.telerik.comfnroductsfmockingfunit-testing.aspx (emphasis added).

Te|erik JustMock is an easy to use mocking tool from Telerik designed to help you create
better unit tests

 

 

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115 8.352. )'-’.3

.~\C(`l."SEI) (".(_`),\-l l‘O-_\l F._\iT$.` .'~\ND B.-\SIS (_`)F lNFRlN(;I{A-'I l`CN'l` (`()N'l`f`.NTl()NS
What ls Mocking And Why DO l Need It?

Mocking is a concept in unit testing where real objects are substituted with fake objects that
imitate the behavior of the real one

http:h’www.telerik,comfhe|ptiustmock!introduction.htrnl

This claim reads on a “system.” Telerik directly makes and uses such systems itself in various
capacities, and induces and contributes to such infringement by its customers, by providing the
JustMock software component for such systems

Note that claim l of Typernock’s ’044 patent incorporates the same technological limitations as this
claim, but reads on a system for distributing computer-readable media having those features. Telerik
also directly infringes that claim by operating such software distribution servers.

There is also evidence that 'I`elerik copied 'l`ypemoclc Isolator’s code (which Telerik had previously
licensed from Typemock). While copying the Typemock code to create JustMock, 'l`elerik also
incorporated into .lustMock a specific bug in the 'l`ypemock code ~ a mistake in the code that serves
as a fingerprint of`the program from which it was taken. The presence of such a “common error” is
among the strongest evidence of piracy, giving rise in and of itself to at least a primafaci'e case of
copying This evidence is further strengthened by JustMock’s copying of a key program AFI from
Typemock Isolator, as addressed in 1.4 below.

 

l.l a processor and
memory:

The system as described above includes a computer that has a processor and memory.

 

1,2 computational
apparatus for at least
partially isolating,

This is a computer apparatus which is part of the claimed system, in this case to perform the
function of at least partially isolating coupled software components by carrying out the specific
operations specified in the claim language that follows.

“at least partially isolating”:

Justlvlock simplities the process of writing unit tests through isolation of dependencies and
let you cover more codes with unit testing Testing complex scenarios is now easier. By
removing dependencies, JustNlock lets you focus only on the logic you want to verify or
assert

htt s:i'!web,archive.or webf20|30902065902!htt :ffwww.te|erik.com)' roducts)'mockin rfc
atures.aspx

 

Also, http:waw.telerik.comfhelp!iustmockfadvanced-usaae"nartia|~mockina.html:

Partial meeks allow you to mock some of the methods of a class while keeping the rest
intact

 

1.3 from within the
software application,

“from within the software application” - at least partially isolating the coupled component (see
below) from the application under test

blocking is a concept in unit testing where real objects are substituted with fake objects that
imitate the behavior of the real ones. Mocking is done so that a test can focus on the code
being tested and not on the behavior or state of external dependencies For examp|e, if you
have a data repository class that runs business logic and then saves information to a
database. you want your unit test to focus on the business logic and not on the database.
blocking the "save” calls to your database ensures your tests run quickly and do not depend
on the availability or state of your database

http:f/www.te|erik.comtproductsimockine,asox#urlit-testing-simplified

 

 

 

 

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A("(.`l_i`Sl~`.D C`()'.\'l PONENTS .-\Nl) B..~\SlS-.`- ()F lNFRlN(`iEi\-llZNT C`()NTENTI()NS

 

l.4 at least one coupled The “coupled software com poncnt” can be either a utilizing or utilized component that performs a
software component which given f`unction. The JustMock product is specifically designed to test such components

performs a gwen functlon JustMock provides for unrestricted mocking of dependent objectsl including non-virtual

methods, sealed classes, static methods and classes. as well as non-public members and
types

http:ffwww.telerik.com."productsi'mocking.aspx#elevated-mocking

Example:

The following example demonstrates how to mock the DateTime.Now method to return the
date Apt'il 12, 20]0.
¢ C#
¢ VB
=i.aCopyC#
[TestMethOd]
public void ShouldASSertCustomValueForDateTimeNowll
l
,'/ Arrange
Mock.Arrangell) => DateTime.Now}.Returns{new DateTimetl9UU, 4, 12)}:

,!/ Act
var now = DateTime.Now;

f/ Assert
Assert.AreEqualllgOO, now.Yearl;
Assert.AreEquall4, now.Monthl:

Assert.AreEqual(lZ, now.Dayl:
}
Note that, you can now arrange the Date'l`ime.Now without any pre-requisites

httn:i’)'www.telerik.comfhelpfiustmockfadvanced-usage-mscorlib-mockina.html

ln the above example, the “coupled software component” is the call to DateTime.Now.

 

l.5 by introducing, prior to 'I`elerik products utilize at least one form of the claimed “code elements,” which are introduced by
execution, code elements JustMocl< prior to execution JustMock “behaves like a profiler” and changes the original code
for runtime access of before the just-in-time compilation, thereby injecting the “code elements" in the original code on-
application points the»fly.

associated with the at least

one coupled software
cgmponent, In at least some Telerik embodiments, the “irtjected” code is inserted just before the original code of

the coupled software component, e.g., the DatcTime.Now call in the above example

http:f!www.telerik.comfforumsi‘is»iustmock-a-auot-proiiler-quot

The APl Returns() in the Arrange method (see the “Example” in l.4 above) “introduce[es|, prior
to execution, code elements for runtime access of application points associated with” the
software component under test.

 

 

 

 

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_.-\("("l.i$l§D C`()M PONI".NTS .»\'.\|D B.=\SIS (_') F lN F`RING F.|\"l [".N'l` (`.i()N'l`f`,N'l"l(`)NS

 

l.6 wherein at least one See the “Example” in 1.4 above, in particular the Arrange().Rcturns() APl:

code element associated

with the at least one // Arrange

coupled goffware Mock.Arrangel ll => DateT;Lme.No\-rl .Returns(new Dal:eT:i.rne l1900, 4, 121 };

component provides access
control between utilizing The APl R.eturns() performs access control.

utilized sonwme See also documentation http:ffwww.telerik,comihelpiiustmockfbasic-usage-mock.html:

 

 

components;

The Arrange method is used to change the behavior of method or property calls on a mock.
ln at least some Telerik embodiments, the code injected by this API (see above) includes a test
whether the coupled component should be mocked, and if so, returns a fake value instead of
executing the original coupled component

l.? computational This is again the computer on which the test routines run. This apparatus runs, for example the
apparatus for testing the TestMethod referenced above.

software application

 

l.S by imposing a fake “lmposing a fake behavior” is illustrated, by Telerik’s APl, for example, for mscorlib, by:
behavior on the at least one
coupled software
component,

Mock.Arra.nge({) => DalcTime.Now).Returns(new DateTimc{lQOO, 4. 12)}

Also: http:!fwww,telerik.comfhe|n."iustmock!introduction.htm|:
What ls |ll‘|ocking And Why Do l Need lt?

l'v'locking is a concept in unit testing where real objects are substituted with fake objects that
imitate the behavior of the real one

Note that in replicating the patented ftlnctionality, Telerik’s JustMock employs an Application
Program Interf`ace (API) that reflects a complete l: l correspondence with Typemock Isolator’s API
for mocking dependent objects:

 

Typcmoc k: Isolate.WhenCalled(() => DateTime.Now).WillReturn(new DateTime(l900, 4, 12));
JustMock: Mock.Arrange(() => DateTime.Now).Returns(new Date'l`irne(l900, 4, 12));

 

Telerik’s implementation of this key API changes only the names arbitrarily given to class and
method components but otherwise is formally identical to Typemock Iso[ator’s API. This direct
correspondence of APIs, in addition to the above-mentioned coincidence of a unique bug in both the
Typemock Isolator and .lustMock products, is strong evidence of willful and deliberate copying of
by Telerik of the Typernock Isolator code and of its underlying software implementation, resulting
in the infringement as shown throughout this claim chart.

 

 

 

 

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l_lS 8._35?..023. .~\C`(‘LiSl-".l) (".(_)|\-'l P()Nt~`.NTS ANI) BASIS t_)F |NF'RlN(_`; l{.;\-'l E.NT C‘()NTENTI()NS
1.9 wherein imposing The example replaces the expected behavior of returning the current DateTime with the faked
includes removing or value of April 12, 1900 instead.
replacing an expected Also see documentation http:h'www.telerik.coml'helijustrnockfbasic-usage-mock.himl. which
behavior of the at least one . . . . . .
shows additional functionality to change expected behavior.
coupled software
component -.Arrange
The Arrange method is used to change the behavior of method or property calls on a mock. lt is
used in conjunction with one or more of the supported behaviors described in this section:
o CallOriginal() - use the original method implementationl
¢ Dolnstead() - execute a custom code when the method is called
o lnitialize() - sets up all framework methods
o DoNothing{) ~ ignore the call. This method is used only for readability and is applicable only
for void methods
o lvlustBeCalled() - mark the method assert that it is called during the executing of the test.
c Raise() - raise mocked event.
o Raises() - raise an event once the method is called
o Returns() - use with a non-void method to return a custom value.
0 Throvvs() » throw an exception once the method is called.
l.lO during runtime; and Wheri the code is changed “on the fly” as above1 this is “during runtime”
it changes it before the just-in-time compilation and injects code in the original code on-
the-fly,
http:f!wvvw.telerik.comfforumsi'is-iustmock-a-quot-pi'of'iler-quot
l.l l wherein the at least The Test code, where triggered, is operative to query the testing component apparatus of this
one code element is claim.
0peratwe_t0 query gald The “inj ected code” (at least one code element) queries the Arrange method, which is part of the
computational apparatus . . _
_ computational apparatus for testing. As above.
for testing
Mock,Arrange({} => DateTime.Now}.Retums(new DateTime(lQOO, 4, 12)}

 

 

 

 

 

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llS 8._352._923 .-\("("l_.|SF_D C`()\l l’()i\iF.|\"l`S .'»\Nl`) BASIS () F lNFRlN(__i l`-`.`:\'l`l€N'l` (`(`)NTF.NTI()NS

 

4. A system according to htto:!)’docs.teierik.comfhelpfiustmockfbasic-usage-automockin_g.html
claim 1 wherein said set
comprises at least one

utilizing software iT€StMethodl
component which accesses public void Sl'iouldTrans fe rFundsBetweenTwoi-`iccounts ll
i

See Elevated Automocking

at least one data element var container = new MockinqCOrii:ainer<AccouritService) (} ;

belonging to its
corresponding utilized decimal expectedBalance = 100.-
SORW&\‘€ COII!I.)OIISIIL
gom;ainer_ Bj_nd<AccQuni;> () . ToMock {) . Inj ectedIni:oPa rameter ("frOmACCOunt")
.AndArrange tx => Mock.Arranqe ( () =>
x . Balarice) . Returna {expectedBalanCel . MustBeCallecl ())
.AndArr¢:-mge tx => Mock.Arrange l ll =>

x.Withdraw lexpectedBalance) ) .MuStBeCalled il );

container.Bind<Account>(} .ToMock() . InjectedlntoParamel:er ("tOACCOunt”}
.AridArrarige{x =b Mock.Arrangeli} =>
x. Deposit (expectedBalarice} l .Mi.istBeCalled(i l;

container. Instarice.TrarisferE`urids (expectedBalance):

container.Assert (l;
l
Here, you are able to arrange the behavior of the different Account dependencies, from the mocking
container.

 

 

 

 

 

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.~\C`(`L.|SF.I) (_'.`(_)'_\"l PON ENTS ,~\'.\il) B.»\S|S (')F lNFRl-NGE[\'I F.NT (`.()N'I`[~".N'l`|()i\i$

 

9. A system according to
claim 1 wherein the
plurality of software
components comprises a
set of at least one pairs of
utilizing-utilized software
components each including
a utilized software
component and a utilizing
soitware component which
utilizes said utilized
software eomponent, and
wherein said apparatus for
at least partially isolating
comprises access
controlling code external
of the sonare application
for anticipating
forthcoming utilization of
utilized software
components by utilizing
software components and
for selectively preventing
said utilization by
controlling access of the
utilizing software
component to the utilized
sonware component

http:l!docs.telerik.com!helpl'iustmockfbasic-Lisa§e-recursive-mocking.html
littp:i'!docs.telerik.com!help!iustmock)'basic~usage-mock-behaviors-recursiveloose,html

ReeursiveLoose meeks will return new mocks (with Behavior.Rec-.irsivel.oose} for a||
memberslfunctions of the mocked type. However, as there are types that cannot be mocked

(string, int, etc.). ReeursiveLoose mocks will return default value for all value type members and
empty, non-null stubs for strings. A|so. a non~null empty collection will be returned for collection return
types (e.g. array or l[-;numersb|e} .

ReeursiveLoose mocks are the same as Loosc mo@, but with one difference; They will
automatically generate empty stubs for a|| mock members. on ali |evels. This saves time in manually
arranging or initia|izing all the mock prerequisites (code csam@), Furlher, you can change the pre~
arranged behavior by defining new expectations1 as described in the w article.

Wlien Reeursive Loose mocks returns new mocks for all members and default values for types that
cannot be mocked, it is preventing the utilized software from running.

 

 

 

[Claim 10 is not asserted in
this case but is charted as
background for asserted
dependent claims]

lO. A system according to
claim l wherein said
apparatus for at least
partially isolating is
operative, upon occurrence
of a call by a first
component from among
the plurality of software
components to a second
component from among
the plurality of software
components, to intervene
to ensure that the second
component does not run.

 

http:r‘ldocs,telerilt.com."help!iustmockf'oasic-usaGe-rnock-do-nothina.html

Mocl<.Arrange ( il =b fOO.VoidCall ll l . DONOi'-hiflq il

 

 

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l.|S 3.352.\)2.3

.»\(`C`l.!$l§`,l) ("()h'll’(_')NFNTS .»'\Nl) B.~\Sl§ OF INFRIN(SF:`.|\"IF.N'I` (`(_)N'l`[~i.N'Tl(_)NS

 

 

1 1, A system according to
claim 10 wherein said call,
absent operation of said
apparatus for at least
partially isolating, results
in data being returned by
the second component to
the first component, and
wherein said apparatus for
at least partially isolating is
operative, instead, to inject
fake data into the f`u”st
component

http:i'r’docs.telerik.com/helpi'iustmockfscenarios-setup-ca|lbacks-with-ref-and~out-parameters.html

string expected = "l`oo";

Mock.i-\rrange( (} => iE`oo.Execute(ref` expectedl ) .DoNothinq() ;
ll Act

String actual = string.Empty;

iFoo.Execiite lrci` actuall;

if Assert

Asaert . AreEqual lexpected, actuall ;

The “ref” above injects fake data.

 

 

14. A system according to
claim l wherein said
apparatus for at least
partially isolating is
operative, upon occurrence
of a call by a first
component ii'om among
the plurality of software
components to a second
component ii'om among
the plurality of software
components, the second
component operating upon
at least one argument to
intervene by providing the
second component with at
least one fake argumentl

http:r‘r’docs.telerik.comi'helpliustmockf`basic-usage-automockina.litml

See Elevated Automocking

[Testl-lethod]

public void ShouldTranSferFundSBet;weenTwoAccount;Sll
l

var container = new MockingContainer<AccountService>ll ;

decima| expectedBalance = lUO;

container . Bind<Account> ll . ToMock () .Inj ecteclIntoPa ramete r l"frOmAcCOunt"l

.And.Arrange (x => Mock.Arrange{ (l =>
x.Balance) .Retiirns texpecteclBalance) .MustBeCalled [l)
.Ancii‘l.rrange(x => MOclc.Arrange l () =>

x.Withdraw texpectedBalance}) .Must:BeCalled ll l ;
container. Binci<Account> (l . ToMocl< ll . Inj ecteclIntoParameter i"tOACCOunt"}
.AndArrange tx => MOck.Arr:ange l il =>
x. Deposit (expectedBalance) ) .MustBeCalledl} l;

container. Instance.TrarisferE`unds (expectedBalanCel;

container . Assert {};
l
Here, you are able to arrange the behavior of the different Account dependencies, from the mccking
container.

 

 

 

 

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.~\(.`C`L.l_"'_il".D C`():\"ll’()l\’EN'l`S .»\Nl') BAS|.'S ()F INFRING EMENT C()NTF,N'I`I()|\'S

 

[Claim 18 is not asserted in http:lr'www.telerik.comfhelpliustrnocklbasic-usage-sequential-mockina.html
this case but is charted as
background for assented

dependent claims] Sequential Mocking

18. A system according to Sequentia| mocking allows you to return different values on the same or different
consecutive calls to one and the same type. ln other words, you can set up expectations for
successive calls of the same type.

Plurality of cxpectations:

claim 1 wherein said
apparatus for testing is
operative to generate a
plurality of expectations
each of which comprises
an identity of an individual
component from among
the plurality of software
components and an
associated behavior
inducing message inducing
said apparatus for at least
partially isolating, when
said individual component
is called, to selectively at
least partially isolate, and
to impose a fake behavior
upon, the individual
component

 

[Claim 22 is not asserted in htio:fldocs.telerik.com)'helo!iustmock!basic-usaee-matchers.html

this case but 'S charted as Malchers let you ignore passing actual values as arguments used in mocks. |nstead, they give you

backgroqu for asserted the possibility to pass just an expression that satisfies the argument type or the expected value

dependent claimg] range. For examp|e, if a method accepts a string as a first parameter. you don’t need to pass a

specilic string like "Carnera". instead, you can use Arg.|sAny<string>(). There are several types of

_22. A system according to malchers supported in Telerik Just|'v‘lock:

claim 18 Wherein at least l' iran;d hil;mci]e:r An D b1 A A Fl A A G 'd A An 1 Ar An L Ar A ob‘
. . . . rg. ny oo , g, y ou c, rg. ny oat, rg. ny ul , rg. y nt, g. y ong, g. - ny jc

an mdmdual eng cf Smd ct, Arg.AnyShort, Arg.AnyString, Arg.Nu|lOrEmpty)

expectations also 2_ Arg_ 15 Any<T>();
comprises an indication of 3. Arg.ls[nRange[[From\/aluc : int], [ToValuc : int}, [RangeKind])
at least one expected ¢51.:rg.§aft{r;hes<l`>(Expression<l’redicate<l>> expression)
. . rg. c
arguments Whlch are Malchers also let you ignore all arguments in your mocks by a single call to [gnoreArguments{} (in the
expected to be Pee$ed fe arrangement) or Args.lgnore() (in the assertion).

said individual component

 

 

 

 

 

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l.|S 8`55'-‘.-.923

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.=\('T(`l..`SF|) (.`()MPONENTS .»'\ND B.~\SIS ()F INFRIN(JF,MENT (`()NTF_NT|()NS

 

24. A system according to
claim 18 wherein at least
one expectation is
generating by recording an
actual call to at least said
individual component

http::“t'docs.telcrik,cornl'helpl’iustmock/basic-usage~mock»rctums,htm1

[TestMethod]
public void ShouldAssertPropertyGetCallt)
l

/f Arrange

var foo = Mock.Create<IE’Oo>(l;

Mock.Arranqe l ll => EOO. Bar} .Ret.urns (lOl;

// A<‘.t

var actual = 0;
actual = foo.Bar;
// Assert

Assert.AreEqual (10‘r actuall;
l
ln this example we arrange the Bar property get to return 10 when catled. By acting with actual =
foo.Bar; we assign 10 to actual, as ioo.Bar will result in 10. Final|y, a verinoation is asserted

 

 

25. A system according to
claim 22 wherein said
individual expectation is
generating by recording an
actual call to said
individual component, in
the course of which call at
least one actual argument
is actually passed to said
individual component, and
wherein the indication of at
least one argument in said
expectation comprises said
at least one actual
argument

http:l’ldocs.telerik,com!he|p/iustrnockfbasic-usage-matchcrs.htmi

lvlatchers let you ignore passing actual values as arguments used in mocks. instead, they give you
the possibility to pass just an expression that satisfies the argument type or the expected value
range. For example, if a method accepts a string as a first parameter, you don't need to pass a
specific string like "Camera". instead, you can use Arg.|sAny<string>{]. There are several types of
matchers supported in Telerik JustMock:

l. Detined Matchers
{Arg.AnyBool, Arg.AnyDoublc, Arg.Anyt"loat, Arg,AnyGuid, Arg.Anyint, Arg.AnyLong, Arg.AnyObjc
ct, Arg.AnyShort, Arg.AnyString, Arg.NullOrEmpty)
Arg,IsAny‘<T>();
Arg.lslnRangc([FromVa|ue : int], [ToValue : int], [Ranchind])
Arg.Matchcs<”[`>(Expression<Predicate<l`>> expression)
. Arg,Rel'I)
Matchers also let you ignore all arguments in your mocks by a single call to lgnoreArguments(] (in the
arrangement) or Args,lgnore() (in the assertion).

MPWP

.iustMock operates such that, by default, the arguments are expected.

 

 

 

 

 

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26. A system according to
claim 1 wherein the
plurality of software
components comprises a
set of at least one pairs of
utilizing-utilized software
components each including
a utilized software
component and a utilizing
software component which
utilizes said utilized
software component and
which includes metadata
pointing to the utilized
software component, and
said apparatus for at least
partially isolating
comprises apparatus for
modifying said metadata to
point to access control
code, said access
controlling code being
operative to control access
of the utilizing software
component to the utilized
software component

http:f:'docs.telerik.comfhclpliustmockfadvanced-usage-mocking-dll-imports.html

[Dlllmport. ("Keme|BZ.dl|"l ]
public static extern int GetCurrentProcessIdtl;

Mock.i-\rrange l ll => Foo.GetCurrentProcessIdl} l . Returns (expect:ed):

 

 

28. A system according to
claim 24 wherein said call
comprises a chain of n
calls and wherein n
expectations are generated
by recording said chain of
n calls.

httg:lldocs.telerik,cornl'hclp_l`|ustrnockfbasic-usage-recursive-mocking.html

Reeursive mocks enable you to mock members that are obtained as a result of "chained" calls on a
mock. For examp!e, recursive rnocking is useful in the cases when you test code like
this: foo.Bar.Baz.Do("x"}.

Mock.Arrange ( l) => EOO. Bar. Do (pingl l `Returns ("aCkZ"l;

 

 

 

 

 

 

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l_.lS 8.352."3".-.3

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[Claim 30 is not asserted in
this case but is charted as
background for asserted
dependent claims]

30.P A software testing
system operative to test a
software application
comprising a plurality of
software ccmponents, at
least some of which arc
ccupled, each software
component operative to
perform a function the
system comprising:

See l.P

 

30.1 a processor and
memory:

Seel.l

 

30.2 computational
apparatus for at least
partially isolating,

See 1.2

 

30.3 from within the
software application,

See 1.3

 

30.4 at least one coupled
software component which
performs a given function

See 1.4

 

30.5 by introducing prior
to execution, code
elements for runtime
access and control of
application points
associated with the at least
one coupled soltware
component; and

See i.5 and 1.6

 

 

30.6 computational See l.?
apparatus for testing the

software application

component

30.7 by removing cr See 1.9

replacing a behavior of at
least said at least partially
isolated coupled software
component during runtime,

 

 

 

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l]S 3.352.‘)'-’_3 .-\(_T(_`l_.|$lil) CT()i\-"l PONF.NTS .»\Nl`) B.»\SIS OF lNFRlN(_§I€.Ml`-i|\i'l` (`()N'l"ENTl()NS

 

30.8 without dependency Without dependency injection:
‘“Je°"°“’ The best thing about using Toionk Juoirvi ook is that you can mook practically everything
You can even mock types without using dependency injection, making JustMock the best

framework to use when working with legacy code.
http:fiwww`te|erik_com!bloqs!from-ieqacv-to-dependencv-iniection

To test my tightly coupled code l create a new JustN|ock test project and deleted the exiting
tiles (l don‘t need this right now). l then added a C# tile called FuturelvlockingTests.cs and
wrote my test:

1: [TestFixture]

2 public class FutuneMockingTests
3. {

4: [Test]

5 public void FutureTest()

6. {

7: van expectedDependency=

Mock. Create<DependencyClass>();

8: Mock Ahhange(() =>
expectedDependency. GetDependentvalue())

9 . .lgnorelnstance()

1@: .Returns($);

11 :

12: van classUnderTest = new DependentClass();

13:

14: Assent.AreEqual(S, classUnderTest.GetValue());
151 }

161 }

(gets_eM)

This test should look pretty familiar; l create a mock of the class l want to mock
(DependencyC|ass) and then arrange the mock. l then call the class and assert the results.
The difference here is the call to lgnorelnstance on line nine. What this does is tell Justlvlock
to replace all calls to the arranged method (in this case GetDependentVa|ue) with the
arrangement l have supplied This enables me to create mocks for classes that are statica|ly
bound without using dependency injection.

Before l run my test l need to ensure that the Justl’vlock pronler is enabled

http;iiwww`telerik.coran|ods!$U-davs-of-tdd-ciav»Z3-mockinq-from-the-tuture

 

 

 

 

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l`iS 8.35.-`!.92

.-\(`C`L..if~i[§|) (_`(`)i\-'IPON l~`_'NTS .'~\_i\'D B_-L\SIS (]F l.\| FRING F,l\'l ENT (`.(_)NT ENT|(_)'NS

 

30.9 wherein said
apparatus f`or testing is
operative to generate a
plurality of` expectations
each of` which comprises
an identity of` an individual
component from among
the plurality of` software
components and

See 18

 

30. 10 an associated
behavior inducing message
inducing said apparatus f`or
at least partially isolating,
when said individual
component is ealled, to
selectively at least partially
isolate, and to impose a
fake behavior upon, the
individual component

See 1.8 and 1.9

 

 

[Claim 32 is not asserted in
this case but is charted as
background f`or asserted
dependent claims]

A system according to
claim 30 wherein the
plurality of` software
components comprises a
set of at least one pairs of
utilizing-utilized software
components each including
a utilized software
component and a utilizing
software component which
utilizes said utilized
software component, said
apparatus for at least
partially isolating
comprises apparatus f`or
adding access controlling
code between each pair of`
utilizing-utilized software
components, said access
controlling code being
operative to control access
of` the utilizing software

 

 

http:ii‘does.telerik.comi'helpfjustmockfbasie-usae_e-moek.html

The Ai-rangc method is used to change the behavior of method or property calls on a mock. lt is used
in conjunction with one or more of the supported behaviors described in this section:

CallOriginal() - usc the original method implementation
Doinstead{} - execute a custom code when the method is callcd.
Initialize() - Sets up all framework methods.

DoNothing() - ignore the call. This method is used only for readability and is applicable only
for void methods

MustBeCalled(] - mark the method assert that it is called during the executing of` the test.
Raise() - raise mocked event.

Raises(} - raise an event once the method is callcd.

Returns(} - use with a non-void method to return a custom value.

Throws() - throw an exception once the method is called

 

 

TYPEMOCK,

l..|S 3.3.52.9?.3

    

component to the utilized
software component

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Page 15

 

 

 

34. A system according to http:i'i“docs.te]erik.comi'helpfiustrnoelo"basie-usage-automocking.html

claim 32 wherein said set
comprises at least one

See Elevated Automocking

utilizing software [TestMethod]

component which accesses
at least one data element
belonging to its

public void ShouldTransfer]:”undsBetweenTi-iroi~`tccounts(i
{

var container = new MOcl<ingContainer<AceountService>(i:

eorrespondingutilized decimai oxpootooiaaianoo = 100,-

software component,

.AnclArranqe tx => Mocl<.Arranqe( ll =>
x. Balance) .Returns (expectedBalance) .Mi;ist.BeCalled ill
.AnclArranqe(x => Mock.Arrange{ () =>

x.withdraw (expectedBalanCe) l .MustBeCalled(i ii

.AriclArrange(x => Mock.i-\rranqe((l =)
x. Deposit (expect;eclBalance) l .Mi.isl;BeCallecl(} i;

c:ontainer . Insi:ance . Trans ferE`undS {expeci;edBalancel :

container .Assert ().'

}

container.

container . Bind<AccOunt> (i . TOMOck (} . Injeetedlntol?ararneter ("frOmACCDunt"}

conta trier . Bincl<AccOunt> () . Tc)Mock () . Inj ect:edlntol?a ratheth ("tOACCOunt"}

Here. you are able to arrange the behavior of the different Account dependencies, from the mocking

 

 

 

 

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39-. A system according to
claim 30 wherein the
plurality of software
components comprises a
set of at least one pairs of
utilizing utilized software
components each including
a utilized software
component and a utilizing
software component which
utilizes said utilized
software component, and
wherein said apparatus for
at least partially isolating
comprises access
controlling code external
of the software application
for anticipating
forthcoming utilization cf`
utilized software
components by utilizing
software components and
for selectively preventing
said utilization by
controlling access cf the
utilizing software
component to the utilized
software component

http:fr‘dces.te]erik.comr'help)’iustmoekfbasic-usage-recursive-moci<ing.html
http:h'dccs.telerik.eomfhelpfjustrnockfbasie-nsaee-moek-behaviors-recursiveloose.html

RecursiveLoose mocks will return new mocks (with Behavior.RecursiveLoose} for all
members.-'functions cf the mocked type, chever, as there are types that cannot be mocked

(string. int. etc.), ReeursiveLccse mocks will return default value for all value type members and
empty, non-null stubs for strings. Also, a non-null empty collection will be returned for collection return
types (e,g. array or IEnumcrable) _

automatically generate empty stubs for all mock members, cri all levels. This saves time in manually
arranging or initializing all the mock prerequisites (codo oramg|os). Further, you can change the pre-
arranged behavior by defining new expectationsl as described in the _.-y_lgi_:_lg articie.

 

When ReeursiveLoose mocks returns new mocks for all members and default values for types that
cannot be mocked, it is preventing the utilized software from running

 

 

[Claim 40 is not asserted in
this ease but is charted as
background for asserted
dependent claims]

40. A system according to
claim 30 wherein said
apparatus for at least
partially isolating is
operative, upon occurrence
of`a call by a first
component fi'om among
the plurality of software
components to a second
component from among
the plurality of software
components, to intervene
to ensure that the second
component does not run.

 

 

http:h’dces.telerik,corni'helpi'iustmoekfbasic-usage-mock~do~nothina.htmi

MOC]-{ . Art;‘anqe{ () => fOO . VOidCall ll i . DONOthirlg {)

 

 

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TYPEMOCK, LTD. v. TELERIK INC., l:l?-cv-10274-RGS, AMENDED CLAIM CHARTS

l_lS 8.352.923

.»\(`(`l.'SFi) C`()'_\"IP()NF,NTS .»\l\'l) B.¢\SIS OF` lNFRlN(`iE=_\-ll".NT C`()NTENTI()NS

 

 

 

41. A system according to
claim 40 wherein said cal-l,
absent operation of said
apparatus for at least
partially isolating, results
in data being returned by
the second component to
the first component, and
wherein said apparatus for
at least partially isolating is
operative, instead, to inject
fake data into the first
component

http:ftdocs.telerilc.com)*helpi'iustmockfscenarios-sctup-callbacks-with-rei`-and-out-parameters.html

"l"oo";
=> iE'oo.Execute (rel` expectedl ) . DoNOthingll F

string expected =
Mock. Arrange ( ll
ll Act

string actual = string.Ernpt:y.'
iE`oo. Execute tref actuall;

il Asscrt

Aa se rt . AreE.qual (expected, actuall ;

The “ref” above injects fake data.

 

 

44. A system according to
claim 30 wherein said
apparatus for at least
partially isolating is
operative, upon occurrence
of a call by a first
component B'om among
the plurality of software
components to a second
component item among
the plurality of software
components, the second
component operating upon
at least one argument, to
intervene by providing the
second component with at
least one fake argument

http:!ldocs.telerik.comfhelpf`]ustmockfbasic-usage-automocking.html
See Elevated Automocking

[TestMethod]

public void Should"i`rans ferFundsBetweenTwoAccountS()
l

var container = new MockingContainer<Account.Servi-::e>() ;

decima| expectedBalance = 100;

container.Bind<Account> il .ToMoCk ll . Injec:tedIntoE-‘arameter ("fromACCC-unt"l
.AndArrange(x => Mock.ll.rranqe( ll =>
x.Balance) . Ret;urns texpecl:edBalancel .MustBeCal.led(ll
.AndZ-\rrange(x => Mock.Arrange( (l =>
x.Withdraw (expectedBalancel) .MustBeCalled{) l:

container.Bind<Account> (l .ToMock ll . InjectedIntoParameter ("tOACCount"l
.AndArrange(x => Mock.Arrange((} =>
x. Deposil: (expect'.edBalanCel l .MustBeCalledll lt

container . Inst:ance . TrensferFunds texpectedBalancel;

container . Assert; (l;
}
Here, you are able to arrange the behavior of the different Account dependencies, from the mocking
container.

 

 

 

Page l’?

 

 

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L."S 8.352.'~)`23

.»\C`(.`USE|) (_`(_)l\-'ll’()NlT.N'l`S _¢\ND B.-»\S[S` ()F lNFR|N(Il§Ml".N'I` (.`()NTENT|()NS

Page 18

 

48. A system according to
claim 30 wherein the
plurality of software
components comprises a
set of` at least one pairs of
utilizing utilized software
components each including
a utilized software
component and a utilizing
software component which
utilizes said utilized
software component and
which includes metadata
pointing to the utilized
software component, and
said apparatus for at least
partially isolating
comprises apparatus for
modiiying said meta-data
to point to access control
code, said access
controlling code being
operative to control access
of the utilizing software
component to the utilized
software component.

http:i’!docs.telerik.con'uhelptiustmockfadvanced-usage-mockina-dll-irnports.html

[DllImpor\; ("Keme|32.d||") ]
public StatiC extern int Get:CurrentProcessIdl) ;

Mock.Arranqe( ll => Foo.GetCurrentProcesBId ll l . Returns texpectedl;

 

 

 

 

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US 9,251,041

ACCUSED COMPONENTS AND BASIS OF INFRINGEMENT CONTENTIONS

 

[Claim l is not asserted in
this case but is charted as
background for asserted
dependent claims]

I. A system for providing
testing for a given software
application comprising a
plurality of software
components, at least some
of which are coupled, said
system comprising:

The accused components for the asserted ones of claims 1-8 of the ’041 Patent are all systems
employed by or for Telerik to provide the Accused Soitware Products electronically.

This claim concerns a system that stores and provides executable code for testing. For example, a
distribution server from which product code may be downloaded. Telerik operates such servers and
therefore directly infringes

 

a first processor
functionally associated
with a digital memory,
which digital memory
stores processor executab|e
software testing code
adapted to cause one or
more second processors to:

The stored executable code is adapted to cause a second processor to implement functionality which
mirrors that claimed in claims l and 50 ofthe ’923 Patent.

 

at least partially isolate
from within the given
software application,
during runtime, at least one
coupled software
component which performs
a given function by
introducing, prior to
execution of the software
application, code elements
for runtime access of
application points
associated with the at least
one coupled component of
the given software
application, such that at
least one of the introduced
code elements provides the
software testing code
access between utilizing-
utilized software
components during
runtime; and

 

 

See 1923 patent, claim l.

 

 

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US 9,251,041

ACCUSED COMPONENTS AND BASIS OF lNFRINGEMENT CONTENTIONS

 

test, by use of the second
processors running the
testing code, the given
software application by
imposing a fake behavior
on the at least one coupled
software component,
wherein imposing behavior
includes removing or
replacing an expected
behavior of the at least one
coupled software
component, during
runtime, by use of` the
access provided by the at
least one of` the introduced
code elements.

See ’923 patent, claim l_

 

 

 

 

 

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'_' ACCUSED COMPONEN'I`S AND BASIS OF lNFRINGEMENT CONTENTIONS

 

' httb:!fdocs.telerik.comfhelb:'iusunock:'basic-usage-recursive-mocking.html

- Reeursive mocks enable you to mock members that are obtained as a result of "chained" calls on a
mock. For examp|e. recursive mocking is useful in the cases when you test code like
this: foo.Bar.Baz.Do("x").

: Mcck.Arrangel ll => foo.Bar.Dc(pinq} ) .Returns i"ack2") .'

httn:!fdocs.telerik.com!helo»"iustrnockfadvanccd-usage-future-mocking.html

By default all mocks are tied to an instance and this is the expected behavior. For instance in the

. following sample we have created an object of type UserData which has a single method

; called ReturnFive() which returns an integer. Then we mock the call to the RetumFive() method for

_ the fakeUsed instance of the UserDsta class. But note that the ReturnFive() method will not be mocked
_j for any of the other instances of the UserData class.

- a

l. its
` §§Ccpy€#
public class UserData
{
public int Returnt'iveii
l
return 5;
j }
: l
` rresi:nethodi
l public void ShouldArrangeReturnOnlyE‘orSpecificInstancell
{
;'/Arrange
var fakeUSed = Mock.Create<UserData>{);
Mock.Arrangel ll => fakeUsed.ReturnE‘ive(i } .Returns (?] ,-

// Assert

Aesert.AreEqual[?, fakeUsed.RaturnFive());

Assert .AreEqual (5, new UserData ii .Returnli‘ive i) ] ,-

: }

lf we want to apply future mocking and assure that all UserData instances use the same mocked
version of the ReturnFive(} method, we Can call Ignorelnstance().

 

 

 

 

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US 9,25| ,041

ACCUSED COMPONENTS AND BASIS OF INFRINGEMENT CONTENTIONS

 

[Claim 9 is not asserted in
this case but is charted as
background for asserted
dependent claims]

9. A software testing
method for testing a
software application
comprising a plurality of`
software components, at
least some of which are
coupled, said method
comprising:

See claim l.

 

at least partially isolating
from within the software
application, by use of a
computational apparatus
running a testing
application, during
runtime, at least one
coupled software
component which performs
a given function by
introducing into the
software application, prior
to execution of`the
software application, code
elements for runtime
access of application points
associated with the at least
one coupled software
component, such that at
least one of the introduced
code elements provides the
testing application access
between utilizing-utilized
software components
during runtime; and

 

 

 

 

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US 9,251,041

ACCUSED COMPONENTS AND BASIS OF INFRINGEMENT CONTENTIONS

 

testing, by use of the
computational apparatus
running the testing
application, the software
application by imposing a
fake behavior on the at
least one coupled software
component, wherein
imposing behavior
includes removing or
replacing an expected
behavior of the at least one
coupled software
component, during
runtime, by use of the
access provided by the at
least one of` the introduced
code elements

 

 

 

 

 

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Reeursive mocks enable you to mock members that are obtained as a result cf "chained" calls on a
, mock. For example, recursive mocking is useful in the cases when you test code like
` this: foo.Bar.Baz.Do(")t").

-' _ MOCk.Arranqe l () => foo.Bar.DO (pin.g) l .Returns l"a€l<Z") ;

' th_p:!fdocs.telerik.com!helpl]`ustmock!advanced-usage-future-mocking.html

: By default all mocks are tied to an instance and this is the expected behavicr. For instance in the
following sample we have created an object of type UserData which has a single method
called RetumFive() which returns an integer. Then we mock the call to the ReturnFive() method for
l the fakeUsed instance of the UserData class. But note that the ReturnFive() method will not be mocked
z for any of the other instances of the UserData class.
_
¥§
' -i`£cpy€#
public ClaSS UserData
' {
' pub“cint ReturnFive(}
{
return 5.'
}
; }

[TestMet:hod]

public v'Old ShouldArrangeReturnOnlyE'orSpeciEicInstanCe()

' {

//Arrange

var fakeUsed = Mock.Create<UserData>il;
Mock.Arrangell) => fakeUsed.ReturnFive(}).Returnsl?);

// Assert

Assert.AreEqual(?, fakeUeed.ReturnFive{)};

Assert.AreEqual (5r new UserData(l .ReturnE'ive[} ) :
}
|f we want to apply future mocking and assure that all UserData instances use the same mocked
l version of the RetumFive() method, we can call Ignorelnstance{).

 

 

 

